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                              UNITED STATES DISTRICT COURT
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             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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    CEDAR INVESTMENT                         Case No. 2:21-cv-00960-MCS-JC
 12 CORPORATION, a California
 13 corporation,                             [Hon. Mark C. Scarsi]
 14              Plaintiff,                  JUDGMENT AND INJUNCTION
 15                                          PURSUANT TO STIPULATION
           vs.
 16
 17 ERIC WESTON, an individual; and
    DOES 1 through 10, inclusive,
 18
 19              Defendants.
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                      JUDGMENT AND INJUNCTION PURSUANT TO STIPULATION
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  1         Pursuant to the express terms of that certain Settlement Agreement and
  2 Mutual General Release entered into by and between Plaintiff Cedar Investment
  3 Corporation, a California corporation (“Cedar Investment”) and Defendant Eric
  4 Weston, an individual (“Weston”), dated effective as of October 18, 2021 (the
  5 “Effective Date”) JUDGMENT is hereby rendered in favor of Cedar Investment and
  6 against Weston, as follows:
  7         1.     Weston, his agents, servants, employees, officers, directors,
  8 representatives, and all persons acting in concert with or for them, are permanently
  9 enjoined from selling, distributing, marketing, conveying, transferring, or otherwise
 10 making available to any other person copies of the motion picture entitled
 11 “Evilspeak” (the “Picture”), or otherwise infringing Cedar Investment’s copyright in
 12 the Picture.
 13         2.     Weston, his agents, servants, employees, officers, directors,
 14 representatives, and all persons acting in concert with or for them are permanently
 15 enjoined to deliver to Cedar Investment, within thirty (30) days of the Effective
 16 Date, to the extent within any of their individual or collective possession, custody,
 17 or control: (i) all copies of the Picture, any screenplays or drafts thereof and/or any
 18 sequels or other derivative works thereof; (ii) copies of all licensing, distribution,
 19 and other agreements entered into by Weston with any third parties regarding the
 20 Picture; and (iii) any other materials from which Weston could produce copies of
 21 the Picture; and to certify under penalty of perjury that they have done so.
 22         3.     Weston holds no right, title, or interest in any screenplays or drafts
 23 thereof with respect to the Picture and/or any sequels or other derivative works
 24 thereof; and has no right to past, present, or future credit or compensation with
 25 respect to the Picture, including any moral or other rights available under the law of
 26 any jurisdiction.
 27         4.     Weston will pay to Cedar Investment, immediately as and when
 28 received by him one hundred percent (100%) of any and all monies received by him
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                        JUDGMENT AND INJUNCTION PURSUANT TO STIPULATION
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  1 or on his behalf on or after the Effective Date in connection with the exploitation of
  2 the Picture, without reduction for any expenses, costs, or other allowances. In
  3 addition, Weston will immediately pay to Cedar Investment any and all monies
  4 received by him between August 1, 2018, and the Effective Date, in connection with
  5 the exploitation of the Picture, without reduction for any expenses, costs, or other
  6 allowances, if he is still in possession of such funds as of the Effective Date or was
  7 in possession of such funds on February 2, 2021.
  8        The Court shall retain jurisdiction to construe, enforce, and implement this
  9 Judgment and Injunction pursuant to Stipulation.
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      DATED: November 3, 2021
 11                                   MARK C. SCARSI
 12                                   UNITED STATES DISTRICT JUDGE
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                       JUDGMENT AND INJUNCTION PURSUANT TO STIPULATION
